            Case 3:24-bk-00496-BAJ     Doc 61    Filed 04/12/24   Page 1 of 2




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

In re:                                                   Case No.: 3:24-bk-00496-BAJ
                                                         Chapter 11
GENIE INVESTMENTS NV, INC.
              Debtor(s).


         NOTICE OF FILING AMENDED STATEMENT OF FINANCIAL AFFAIRS

         PLEASE TAKE NOTICE that the Debtor files the attached STATEMENT OF

FINANCIAL AFFAIRS to update the required schedules for the Debtor.




                                                Law Offices of Mickler & Mickler, LLP

                                                By:_/s/ Bryan K. Mickler________
                                                      Bryan K. Mickler
                                                Florida Bar No. 091790
                                                Attorney for the Debtor(s)
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                Case 3:24-bk-00496-BAJ          Doc 61   Filed 04/12/24   Page 2 of 2




                                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a copy of the foregoing was furnished to the United States

Trustee and all interested parties per the attached mailing matrix by CM/ECF and/or First Class

United States Mail this ___12__ day of April, 2024.

                                                              /s/ Bryan K. Mickler
                                                              Attorney
docs\bankrupt\forms\addendum notice 11
